Case: 1:15-cv-08942 Document #: 31-1 Filed: 10/28/16 Page 1 of 4 PageID #:68




                                                             REDACTED
                                                                        REDACTED




              REDACTED REDACTED




                                                                  EXHIBIT A
Case: 1:15-cv-08942 Document #: 31-1 Filed: 10/28/16 Page 2 of 4 PageID #:69




                                                             REDACTED
                                                                       REDACTED




              REDACTED REDACTED
Case: 1:15-cv-08942 Document #: 31-1 Filed: 10/28/16 Page 3 of 4 PageID #:70




                                                              REDACTED
                                                                        REDACTED




              REDACTED REDACTED
Case: 1:15-cv-08942 Document #: 31-1 Filed: 10/28/16 Page 4 of 4 PageID #:71




                                                              REDACTED
                                                                         REDACTED




              REDACTED REDACTED
